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24                                                 Rimini Street, Inc., and Seth Ravin

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                            STIPULATION REGARDING CUSTOMERS
                                Case No. 2:14-cv-01699-MMD-DJA
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 1                                IN THE UNITED STATES DISTRICT COURT

 2                                       FOR THE DISTRICT OF NEVADA

 3

 4       ORACLE INTERNATIONAL CORP., and                          CASE NO. 2:14-cv-01699-MMD-DJA
         ORACLE AMERICA, INC.,
 5

 6                       Plaintiffs/ Counterdefendants,           STIPULATION REGARDING
                                                                  CUSTOMERS
 7       v.
                                                                  PUBLIC REDACTED VERSION
 8       RIMINI STREET, INC., and SETH RAVIN,

 9                       Defendants/ Counterclaimants.
10

11              Plaintiffs Oracle International Corporation and Oracle America, Inc. (together, “Oracle”)

12   and Defendants Rimini Street, Inc. and Seth Ravin (together, “Rimini”) (collectively, “the

13   Parties”), for purposes of this action only, stipulate and agree as follows:

14              1.       4891 customers (1) decided not to renew Oracle support for the PeopleSoft, JD

15   Edwards, Siebel, E-Business Suite, and/or Database software, (2) contracted with Rimini Street

16   for support of the same software from the “start date” to the “termination date” (as of February 28,

17   2018) listed in Appendix A; and (3) had not returned to Oracle support as of February 28, 2018.

18              2.       These 489 customers are listed in Appendix A. 216 of those customers are

19   PeopleSoft support customers, 69 are JD Edwards support customers, 151 are EBS support

20   customers, 45 are Siebel support customers, and 168 are Oracle Database support customers.

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22              SO STIPULATED AND AGREED.

23              Dated: November 28, 2022

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         Because certain clients have multiple software products, there are 649 customer-product combinations.
28                                                        1
                                     STIPULATION REGARDING CUSTOMERS
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 1   Dated: November 28, 2022                     Dated: November 28, 2022

 2   GIBSON, DUNN & CRUTCHER LLP                  MORGAN, LEWIS & BOCKIUS LLP

 3
      By:      /s/ Eric D. Vandevelde             By:      /s/ Benjamin P. Smith
 4                    Eric D. Vandevelde                          Benjamin P. Smith
 5   Attorneys for Defendants/ Counterclaimants   Attorneys for Plaintiffs/ Counterdefendants
     Rimini Street, Inc., and Seth Ravin          Oracle International Corporation and Oracle
 6                                                America, Inc.
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            IT IS SO ORDERED.
11
            DATED:
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            ___________________________________
14          MIRANDA M. DU
            UNITED STATES DISTRICT JUDGE
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                            STIPULATION REGARDING CUSTOMERS
                                Case No. 2:14-cv-01699-MMD-DJA
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 1                                    ATTESTATION OF FILER

 2          The signatories to this document are Benjamin P. Smith and me, and I have obtained Mr.

 3   Smith’s concurrence to file this document on his behalf.

 4

 5    DATED: November 28, 2022                   GIBSON, DUNN & CRUTCHER LLP
 6
                                                 By:       /s/ Eric D. Vandevelde
 7
                                                                    Eric D. Vandevelde
 8
                                                 Attorneys for Defendants/ Counterclaimants Rimini
 9                                               Street, Inc., and Seth Ravin

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                              STIPULATION REGARDING CUSTOMERS
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 28th day of November, 2022, I electronically transmitted the

 3   foregoing STIPULATION REGARDING CUSTOMERS to the Clerk’s Office using the

 4   CM/ECF System for filing and transmittal of a Notice of Electronic Filing to all counsel in this

 5   matter; all counsel being registered to receive Electronic Filing.

 6

 7
      DATED: November 28, 2022                     GIBSON, DUNN & CRUTCHER LLP
 8

 9                                                 By:       /s/ Eric D. Vandevelde
                                                                      Eric D. Vandevelde
10
                                                   Attorneys for Defendants/ Counterclaimants Rimini
11                                                 Street, Inc., and Seth Ravin
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                                       CERTIFICATE OF SERVICE
